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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                      CaseN o.17-81270-CV-M lDDLEBROOKS/Brannon

  LAURA HILTON,etal.

        Plaintiffs,



  FLU EN T LLC,eta1.

        Defendants.


                                  ORDER CLO NING CASE
         THIS CAUSE comesbeforethe Courton PlaintiffsNoticeofVoluntary Dismissal(with
  prejudice),filedAprill1,2018. (DE 75). Pursuantto Rule 41(a)oftheFederalRulesofCivil
  Procedure,aplaintiffmay voluntarily dismissan action by filing a notice ofdism issalbeforethe

  opposing party serveseitheran answeroramotionforsummaryjudgment.SeeFed.R.Civ.P.
  41(a)(1)(A)(i). Defendantshavenotservedananswerorfiledamotion forsummaryjudgment.
  Accordingly,itis
         ORDERED AND ADJUDGED thatthis case is DISM ISSED W ITH PREJUDICE.

  TheClerk ofCourtshallCLOSE THIS CASE.Al1pending motionsareDEN IED AS M OOT.

         DONE AND ORDERED inChambers,atWestPalm Beach Florida,this Z dayof
                                                                      ,



  April,2018.




                                                         ALD M .M ID D LEBR OO K S
                                                    UN ITED STATES D ISTRICT JUD G E


         CounselofRecord
